

Jeffrey's Auto Body, Inc. v Allstate Ins. Co. (2018 NY Slip Op 04261)





Jeffrey's Auto Body, Inc. v Allstate Ins. Co.


2018 NY Slip Op 04261


Decided on June 8, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on June 8, 2018

PRESENT: WHALEN, P.J., SMITH, LINDLEY, NEMOYER, AND TROUTMAN, JJ. (Filed June 8, 2018.) 


MOTION NO. (1417/17) CA 16-01639.

[*1]JEFFREY'S AUTO BODY, INC., PLAINTIFF-APPELLANT, 
vALLSTATE INSURANCE COMPANY AND ALLSTATE PROPERTY AND CASUALTY INSURANCE COMPANY, DEFENDANTS-RESPONDENTS. (APPEAL NO. 1.)



MEMORANDUM AND ORDER
Motion for reargument or leave to appeal to the Court of Appeals denied.








